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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.        2:18-cv-08048-SVW                                                                            Date      December 4, 2019
 Title:          Vernon Unsworth v. Elon Musk

 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz/Lori Stanton                                                         Anne Kielwasser; Laura Elias
                           Deputy Clerk                                                                  Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
R. Christopher Chatham; G. Taylor Wilson;                                       Alexander Spiro; Michael T. Lifrak; Robert M.
Jonathan D. Grunberg; L. Lin Wood                                               Schwartz;
                             Day Court Trial                      2nd                       Day Jury Trial
           One day trial:                      st
                                    Begun (1 day);         X     Held & Continued;                  Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
 ✔    Witnesses called, sworn and testified.          ✔   Exhibits Identified         ✔     Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                    defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                                  Jury resumes deliberations.
      Jury Verdict in favor of                            plaintiff(s)                    defendant(s) is read and filed.
      Jury polled.                                        Polling waived.
      Filed Witness & Exhibit Lists                       Filed jury notes.               Filed jury instructions.
      Judgment by Court for                                                               plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                           plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is             granted.             denied.            submitted.
      Motion for mistrial by                                                     is             granted.             denied.            submitted.
      Motion for Judgment/Directed Verdict by                                    is             granted.             denied.            submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
 ✔ Case continued to                   December 5, 2019 at 9:00 a.m.                          for further trial/further jury deliberation.
      Other:


                                                                                                                         7        :          40
                                                                                Initials of Deputy Clerk                       PMC/LS
cc:


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